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     J.O. and S.S., Petitioners  v.  The People of the State of Colorado,  In the Interest of Minor Children: J.A.S. and J.M.S. Respondent No. 25SC50Supreme Court of Colorado, En BancMarch 17, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA743
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari DENIED.
    